                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         DOCKET NO. 3:12CR206-MOC-DSC

UNITED STATES OF AMERICA )
                               )
            v.                 )
                               )                     ORDER
WENSCESLAU HERNANDEZ           )
PEREZ,                         )
                               )
                  Defendant.   )
_______________________________)

       THIS MATTER is before the Court on Defendant’s “Motion for Hearing on Inquiry of

Counsel” (doc. 76) filed on September 27, 2012. There are no grounds stated in the Motion. The

Court conducted a hearing in this matter on October 3, 2012.

       Having fully considered the arguments, the record, and the applicable authority, the Court

finds that there is a basis for removal of counsel for Defendant, as discussed below.

       At the hearing, Defendant stated that he does not trust defense counsel, Charles L. Morgan,

Jr., and that Mr. Morgan has not reviewed the discovery with him. Mr. Morgan stated that he has

no independent recollection of reviewing the discovery with this Defendant and could only represent

what his general practices are with regard to reviewing discovery with his clients. Defendant is

scheduled for docket call on November 5, 2012 before District Judge Max O. Cogburn, Jr.

       Based on the above facts, the Court finds that there is a sufficient basis for removal of

counsel for Defendant. The Federal Defender’s Office is directed to appoint substitute counsel for

Defendant pursuant to the Criminal Justice Act.




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      The Clerk is directed to send copies of this Order to counsel for the parties; and to the

Honorable Max O. Cogburn, Jr.

      SO ORDERED.

                                              Signed: October 3, 2012




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